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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
BROOKLYN DIVISION
 IN RE                                                        CHAPTER 13

 STEVE N MURRAY A/K/A STEVE NATHAN                            CASE NO. 1-21-40002-jmm
 MURRAY A/K/A STEVE MURRAY
                                                              JUDGE: Jil Mazer-Marino

                          DEBTOR



                               OBJECTION TO CONFIRMATION


          Robert W. Griswold, Esq., an attorney admitted to practice in this Court, affirms the

following under penalty of perjury:

          1.     I am an associate with LOGS Legal Group LLP, attorney for Wells Fargo Bank,

N.A., (“Secured Creditor”) and am familiar with the facts and circumstances surrounding this

matter.

          2.     Secured Creditor holds a mortgage on the Debtor’s real property known as 1468

Jefferson Ave, Brooklyn, NY 11237 (the “Property”).

          3.     Wells Fargo Bank, N.A. has filed a Proof of Claim, reflected on the claim register

as claim number 1-1, for pre-petition mortgage arrears in the amount of $55,163.74. Debtor’s

proposed Chapter 13 Plan makes no provision for full payment of the mortgage arrears in

violation of Bankruptcy Code Section 1325(a)(5)(B)(ii).



          WHEREFORE, the undersigned respectfully requests the Debtor to amend their Chapter

13 Plan to reflect the proper mortgage arrears as specified earlier or, in the absence of an

amendment to the Plan, the undersigned respectfully requests an Order of this Court denying
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confirmation of Chapter 13 Plan pursuant to Bankruptcy Code Section 1325 and such other and

further relief as may be just and proper.

Dated: February 12, 2021
       Merrick, NY

                                            /s/ Robert W. Griswold
                                            Robert W. Griswold
                                            LOGS Legal Group LLP
                                            Attorneys for Wells Fargo Bank, N.A.
                                            175 Mile Crossing Boulevard
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on February 12, 2021, a copy of Objection to Confirmation

was caused to be mailed by ordinary U.S. Mail, postage prepaid, and/or electronically upon the

following:

Debtor
Steve N Murray a/k/a Steve Nathan Murray a/k/a Steve Murray
1468 Jefferson Ave
Brooklyn, NY 11237

Attorney for Debtor
Clover M. Barrett, Clover M. Barrett, P.C.
cbarrettpc@aol.com

Trustee
Michael J. Macco
ecf@maccolaw.com


Dated: February 12, 2021
       Merrick, NY

                                             /s/ Robert W. Griswold
                                             Robert W. Griswold
                                             LOGS Legal Group LLP
                                             Attorneys for Wells Fargo Bank, N.A.
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